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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                        §
 AMERICA,                                             §
                                                      §
                Plaintiff,                            §
                                                      §    CIVIL CASE NO. 18-CV-00566-TJM-
 v.                                                   §    CFH
                                                      §
 ANDREW CUOMO, both individually and                  §
 in his official capacity; MARIA T. VULLO,            §
 both individually and in her official                §
 capacity; and THE NEW YORK STATE                     §
 DEPARTMENT OF FINANCIAL                              §
 SERVICES,                                            §
                                                      §
                Defendants.                           §

                   NATIONAL RIFLE ASSOCIATION OF AMERICA’S
                  FIRST AMENDED COMPLAINT AND JURY DEMAND

       Plaintiff the National Rifle Association of America (the “NRA”) files this First Amended

Complaint and Jury Demand (“Complaint”) against defendants New York Governor Andrew

Cuomo (“Cuomo”), both individually and in his official capacity; Maria T. Vullo (“Vullo”), both

individually and in her official capacity; and the New York State Department of Financial Services

(“DFS”) (collectively, “Defendants”), upon personal knowledge of its own actions, and upon

information and belief as to all others matters, as follows:

                                                 I.

                                PRELIMINARY STATEMENT

       This case is necessitated by an overt viewpoint-based discrimination campaign against the

NRA and the millions of law-abiding gun owners that it represents. Directed by Governor Andrew

Cuomo, this campaign involves selective prosecution, backroom exhortations, and public threats




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with a singular goal – to deprive the NRA and its constituents of their First Amendment rights to

speak freely about gun-related issues and defend the Second Amendment.

         The foundation of Defendants’ selective-enforcement and retaliation campaign is a series

of threats to financial institutions that DFS, an agency created to ensure the integrity of financial

markets after the 2008 credit crisis, will exercise its extensive regulatory power against those

entities that fail to sever ties with the NRA. To effect their sweeping agenda, Defendants issued

public demands that put DFS-regulated institutions on notice to “discontinue[] their arrangements

with the NRA” and other “gun promotion organizations” if they planned to do business in New

York.

         At the same time, Defendants engaged in back-channel communications to reinforce their

intended purpose. Simply put, Defendants made it clear to banks and insurers that it is bad business

in New York to do business with the NRA.

         As a direct result of this coercion, multiple financial institutions have succumbed to

Defendants’ demands and entered into consent orders with DFS that compel them to terminate

longstanding, beneficial business relationships with the NRA, both in New York and elsewhere.

Tellingly, several provisions in the orders bear no relation to any ostensible regulatory infraction.

Moreover, Defendants’ abuses will imminently deprive the NRA of basic bank-depository

services, corporate insurance coverage, and other financial services essential to the NRA’s

corporate existence and its advocacy mission.

         Absent injunctive relief, Defendants’ blacklisting campaign will continue to damage the

NRA and its members, as well as endanger the free speech and association rights guaranteed by

the constitutions of the United States and the State of New York. It is well-settled that viewpoint

discrimination applied through “threat[s] of invoking legal sanctions and other means of coercion,



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persuasion, and intimidation” violates the United States Constitution where, as here, such measures

chill protected First Amendment activities.1       Defendants’ de facto censorship scheme cannot

survive judicial scrutiny. Nor should it.

                                                   II.

                                              PARTIES

        1.        Plaintiff the National Rifle Association of America is a nonprofit corporation

organized under the laws of the State of New York with its principal place of business in Fairfax,

Virginia. The NRA is America’s leading provider of gun-safety and marksmanship education for

civilians and law enforcement. It is also the foremost defender of the Second Amendment to the

United States Constitution. The NRA has over five million members, and its programs reach

millions more.

        2.        Defendant New York State Department of Financial Services is an agency of the

State of New York that regulates financial services firms operating in New York in order to guard

against financial crises and to protect New York consumers and markets from fraud. DFS has a

regional office at One Commerce Plaza, Albany, New York 12257. Its main office is located at

One State Street, New York, New York 10004-1511. It regulates more than 1,400 insurance

companies with assets in excess of $4.3 trillion, including 200 life insurers, 1,100 property casualty

insurers, and 100 health insurance companies. DFS also regulates over 1,900 banking and other

financial institutions with assets over $2.9 trillion.

        3.        Defendant Maria T. Vullo is the Superintendent of the New York State Department

of Financial Services and, at all times relevant to the Complaint, was acting under color of state




        1
            See, e.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 72 (1963).


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law. Her principal place of business is One State Street, New York, New York 10004-1511. Vullo

is sued in her individual and official capacities.

       4.      Defendant Andrew Cuomo is the Governor of the State of New York and, at all

times relevant to the Complaint, was acting under color of state law. His principal place of

business is The State Capitol Building, Albany, New York 12224. Cuomo is sued in his individual

and official capacities.

                                                  III.

                                 JURISDICTION AND VENUE

       5.      Pursuant to 28 U.S.C. § 1331, the Court has subject matter jurisdiction over the

claims asserted in this action because this action involves claims based on the First and Fourteenth

Amendments to the United States Constitution (U.S. Const. amend. I, XIV), and because the action

seeks to prevent state officials from interfering with federal rights. Further, subject matter

jurisdiction is conferred on this Court by 28 U.S.C. § 1343(a)(3) because this action is brought to

redress deprivations under color of state law of rights, privileges, and immunities secured by the

United States Constitution. This Court has supplemental jurisdiction over all state-law claims

asserted in this action under 28 U.S.C. § 1367.

       6.      Pursuant to 28 U.S.C. § 1391(b), venue is properly vested in this Court because

defendant Cuomo resides in this judicial district.

       7.      There is a present and actual controversy between the parties.

       8.      The relief requested is authorized pursuant to 28 U.S.C. § 1343(a)(4) (recovery of

damages or equitable relief or any other such relief for the protection of civil rights), 28 U.S.C. §

1651(a) (injunctive relief), 28 U.S.C. §§ 2201 and 2202 (declaratory and other appropriate relief),

42 U.S.C. § 1983 (deprivation of rights, privileges, and immunities secured by the Constitution),

and 42 U.S.C. § 1988 (awards of attorneys’ fees and costs).

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                                              IV.

                           STATEMENT OF RELEVANT FACTS

A.     The NRA: History Of Dedicated Support For Gun Safety And A Commitment To
       Core Political Speech.

       9.     After the Civil War, two Union Army officers created a private association to

promote marksmanship among the citizenry. The officers believed that the war would have ended

significantly sooner if the northern troops had been able to shoot as well as the Confederate

soldiers. They obtained a charter from the State of New York in November of 1871; thereafter,

the National Rifle Association built a proud legacy in the State of New York.

       10.    From the NRA’s inception, it received praise from the State of New York for its

many public contributions. In 1872, the New York State legislature and the NRA jointly dedicated

funds for the creation of a rifle range on Creed Farm, in what is now Queens Village, Queens, New

York. For many decades, the NRA partnered with the State to advance firearms safety, education,

conservation, and other laudable public policy goals. For example, when New York City public

schools sought to educate boys in marksmanship and gun safety, NRA co-founder Gen. George

Wingate designed and headed the resulting Public Schools Athletic League (PSAL) marksmanship

program.2 Likewise, in 1949, the NRA worked with the State of New York to create the nation’s

first hunter education program. Similar courses were subsequently adopted by state fish and game

departments across the country and in Canada, and make hunting among the safest sports in

existence.



       2
         See, e.g., STEVEN A. RIESS, SPORTS IN AMERICA FROM COLONIAL TIMES TO THE TWENTY-
FIRST CENTURY: AN ENCYCLOPEDIA 736 (Steven A. Riess ed., 2015); ROBERT PRUTER, THE RISE
OF AMERICAN HIGH SCHOOL SPORTS AND THE SEARCH FOR CONTROL, 1880-1930 122 (1st ed.
2013); Robert Pruter, Boys Rifle Marksmanship, ILLINOIS HIGH SCHOOL ASSOCIATION,
http://www.ihsa.org/archive/hstoric/marksmanship_boys.htm?NOCACHE=5:53:58%20PM (last
visited May 11, 2018).

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       11.     First among the “Purposes and Objectives” contained in the NRA’s bylaws is “[t]o

protect and defend the Constitution of the United States.” Accordingly, political speech is a major

purpose of the NRA. The NRA engages in extensive legislative advocacy to promote its purposes,

as well as to vindicate the rights of its members and all Americans.

       12.     The NRA spends tens of millions of dollars annually distributing pamphlets, fact

sheets, articles, electronic materials, and other literature to advocate for its views on the Second

Amendment and to assist NRA members engaging in national, state, and local firearm dialogue.

The NRA’s direct mail, television, radio, and digital communications seek to educate the public

about issues bearing on the Second Amendment, defend the NRA and its members against political

and media attacks, and galvanize participation in the political process by NRA members and

supporters.

       13.     Digital media is a particularly important communications medium for the NRA.

The organization’s online video channel, NRATV, broadcasts original programming including

three dozen original series.     NRATV’s content consists substantially of political speech.

Unsurprisingly, opponents of the NRA have criticized NRATV—but they acknowledge the

channel’s prominence in public debate. For example, the New York Times describes NRATV as a

“vital forum for the dissemination” of “pro-gun messaging in politics.”3

       14.     To its critics, the NRA is best known as a “superlobby – one of the largest and most

truly conservative lobbying organizations in the country,” able to mobilize its millions of members




       3
       Jeremy W. Peters and Katie Benner, Where the N.R.A. Speaks First and Loudest, THE
NEW YORK TIMES (Feb. 21, 2018), https://www.nytimes.com/2018/02/21/us/politics/nratv-nra-
news-media-operation.html.



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in concerted efforts to protect the Second Amendment rights of all Americans.4 Of course, just

like NRATV, the NRA’s letter-writing campaigns, peaceable public gatherings, and other

grassroots “lobbying” activities constitute precisely the type of political speech which rests “[a]t

the core of the First Amendment.”5

B.        Cuomo’s Political Vendetta Against The NRA.

          15.      Andrew Cuomo has criticized the political speech and influence of “Second

Amendment types”6 generally, and the NRA specifically, for decades. Moreover, Cuomo has a

history of abusing his regulatory power to retaliate against his political opponents on gun control

issues.

          16.      The son of former Governor Mario Cuomo, Andrew Cuomo is a political

opportunist who has consistently sought to gain political capital by attacking the NRA. During his

tenure as Housing and Urban Development (“HUD”) Secretary in the 1990s, Cuomo coordinated

a campaign of lawsuits (nearly all dismissed) against gunmakers that purported to hold them liable

for crimes committed in public housing projects using illegally obtained firearms. Cuomo


          4
        Christina Robb, HANDGUNS AND THE AMERICAN PSYCHE THE ATTEMPTED
ASSASSINATION OF A PRESIDENT BRINGS THE ISSUE INTO SHARP FOCUS ONCE AGAIN.
HANDGUNS – WHAT DO THEY MEAN TO AMERICANS? TO THE NRA, THEY ARE A SYMBOL
OF FREEDOM; TO THOSE FRIGHTENED OF CRIME, THEY REPRESENT SAFETY – EVEN
IF THE OWNER DOESN’T KNOW HOW TO USE THEM; TO GUN CONTROL ADVOCATES,
THEY ARE SYMBOLS OF ULTIMATE EVIL., BOSTON GLOBE, 1981 WLNR 68847 (June 7,
1981).
          5
              See Brown v. Hartlage, 456 U.S. 45, 52 (1982).

         On February 15, 2018, Cuomo appeared on the MSNBC program “The Beat,” where he
          6

discussed championing legislation that some believed “trampled the Second Amendment.”
YOUTUBE, Gov. Andrew Cuomo On Background Checks: “Bunch Of Boloney” | The Beat With
Ari Melber | MSNBC, https://www.youtube.com/watch?v=Tz8X07fZ39o (last visited May 7,
2018). However, Cuomo lamented that his “favorability rating” had dropped thereafter due to
“backlash from conservatives and Second Amendment types.” Id.



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admitted that his real aim was to coerce, via settlement, the “voluntary” industrywide adoption of

certain equipment and sale restrictions, and warned that any manufacturer who refused to settle

would suffer “death by a thousand cuts.”7 Decried by even gun-control supporters as “wrong” and

an abuse of agency authority,8 the Cuomo campaign failed after the NRA and other pro-gun groups

organized legislative and grassroots opposition.9

       17.     Cuomo blamed “gun lobby extremists” for the collapse of his efforts at HUD.10 At

a press conference on June 20, 2000, he referred to gun-rights supporters as “the enemy,” and

announced a blueprint for defeating the NRA and its allies that would emphasize the use of state

and municipal retaliatory authority: “If we engage the enemy in Washington we will lose. They




       7
         Bill McAllister, Gun Industry Rejects Settlement Effort, THE DENVER POST (Feb. 1, 2000),
http://www.wagc.com/gun-industry-rejects-settlement-effort/.
       8
            In an editorial dated December 17, 1999, the Washington Post described the Cuomo
campaign as “disquieting even for those who, like us, strongly support rigorous controls on
handguns.”          The HUD Gun Suit, THE WASHINGTON POST (Dec. 17, 1999),
https://www.washingtonpost.com/archive/opinions/1999/12/17/the-hud-gun-suit/48ee0a45-18da-
4e8d-9b86-b9512172ae09/?utm_term=.9a74ce83f538. Anticipating themes that would continue
to characterize Cuomo’s gun-control efforts over the next nineteen years, the editorial board stated
that “it . . . seems wrong for an agency of the federal government” to put “pressure on an industry
. . . to achieve policy results the administration has not been able to achieve through normal
legislation or regulation.” Id.
       9
         See, e.g., House Blocks Money For Gun Pact, CBS NEWS (June 21, 2000, 11:58 PM),
https://www.cbsnews.com/news/house-blocks-money-for-gun-pact/.
       10
       HUD Archives: News Releases, HUD No. 00-150, COMMUNITIES FOR SAFER GUNS
COALITION JOINS CUOMO IN CRITICIZING EFFORT IN CONGRESS TO KILL THE
COALITION, U.S. DEP’T OF HOUS. AND URBAN DEV. (June 27, 2000, archived Dec. 13, 2009).



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will beat us in this town. They are too strong in this town. Their fortress is within the Beltway.

We're going to beat them state by state, community by community.”11

       18.     As governor of New York, Cuomo has loudly supported the enactment of some of

the nation’s harshest gun-control laws.12 But rather than debate opponents of his anti-gun

initiatives, he declared that conservative firearms advocates “have no place in the state of New

York.”13 In particular, Cuomo has sought to banish “the enemy” from public discourse altogether,

and remains dissatisfied with what he perceives to be the excessive political influence of

“conservatives and the Second Amendment types.”14

       19.     In truth, Cuomo bears distinct animus toward the NRA, which he accuses of

exerting a “stifl[ing] . . . stranglehold” over national gun policy.15 For Cuomo, weakening the

political advocacy of the NRA is a career strategy.



       11
           Remarks by Secretary Andrew Cuomo Handgun Control, Inc, Washington, D.C.
Tuesday, June 20, 2000, U.S. DEP’T OF HOUS. AND URBAN DEV. (Jan. 20, 2009),
https://archives.hud.gov/remarks/cuomo/speeches/handguncontrl.cfm.
       12
          See, e.g., Teri Weaver, Judge: NY must release Safe Act stats from assault weapons
registry,         SYRACUSE           (May        7,         2015,          9:09         PM),
http://www.syracuse.com/news/index.ssf/2015/05/judge_ny_must_release_safe_act_data_on_ass
ault_weapons_registry.html.
       13
          Heather Long, Conservatives aren’t welcome in New York, according to Governor
Cuomo,        THE        GUARDIAN        (Jan.      14,       2014,      8:49       AM),
https://www.theguardian.com/commentisfree/2014/jan/24/governor-cuomo-conservatives-not-
welcome-new-york.
       14
         YOUTUBE, Gov. Andrew Cuomo On Background Checks: “Bunch Of Boloney” | The
Beat With Ari Melber | MSNBC, https://www.youtube.com/watch?v=Tz8X07fZ39o (last visited
May 7, 2018).
       15
          Kenneth Lovett, Exclusive: Cuomo fires back at Jeb Bush for ‘stupid’ and ‘insensitive’
gun tweet, NY DAILY NEWS (Feb. 17, 2016), http://www.nydailynews.com/news/politics/cuomo-
blasts-jeb-stupid-insensitive-gun-tweet-article-1.2534528.



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C.     Defendants Attempt To Chill The NRA’s Political Speech In Support Of Americans’
       Second Amendment Rights.

       20.     Against the backdrop of recent tragedies and a polarized public gun-control debate,

Cuomo and the other Defendants have abused their authority in an effort to stifle the NRA’s

political advocacy and to retaliate against the NRA for the effectiveness of that advocacy.

       21.     Together with DFS Superintendent Vullo, his longtime lieutenant,16 Cuomo has

embarked on a campaign to chill the political speech of the NRA and other so-called “gun

promotion” organizations by leveraging state power to punishing financial institutions which

maintain “business arrangements with the NRA.” To achieve this, Defendants draw upon the

formidable regulatory powers of DFS—an agency charged with ensuring the stability and integrity

of New York’s financial markets.

       22.     At Cuomo’s behest, Vullo and DFS have threatened, and continue to threaten,

regulated institutions with costly investigations and penalties should they fail to

“discontinue[] . . . their arrangements with the NRA.”17 And Defendants have already carried out

some of these threats. Within a single week, DFS levied multi-million dollar fines against two

insurance-industry firms that dared to do business with the NRA. Under intense scrutiny, both



       16
          Cuomo and Vullo have worked together since at least 2006 when Vullo served as a “top
aide” to Cuomo in his role as attorney general. Cuomo nominated Vullo to be DFS Superintendent
approximately ten years later. Jimmy Vielkind, Cuomo nominates ex-aide to head Department of
Financial Services, POLITICO (Jan. 21, 2016, 5:14 AM), https://www.politico.com/states/new-
york/albany/story/2016/01/cuomo-nominates-ex-aide-to-head-department-of-financial-services-
030286.
       17
          GOVERNOR CUOMO DIRECTS DEPARTMENT OF FINANCIAL SERVICES TO
URGE COMPANIES TO WEIGH REPUTATIONAL RISK OF BUSINESS TIES TO THE NRA
AND SIMILAR ORGANIZATIONS, N.Y. STATE GOVERNOR ANDREW M. CUOMO (Apr. 19, 2018),
https://www.governor.ny.gov/news/governor-cuomo-directs-department-financial-services-urge-
companies-weigh-reputational-risk.



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firms were coerced to terminate their business arrangements with the NRA and its members—

including arrangements having nothing to do with the allegedly unlawful conduct cited by DFS.

       23.    A DFS press release publicizing one recent enforcement action makes clear the

gravamen of Defendants’ campaign: financial institutions regulated by DFS must refrain from

“[e]ntering into any . . . agreement or arrangement,” which “involv[es] the NRA, directly or

indirectly”18—or face the consequences.

       1.     DFS And Its Regulatory Mission.

       24.    In 2011, as part of his state budget, Cuomo announced the merger of the New York

State Insurance Department and the Banking Department to create DFS. The mandate of the new

agency, which consolidated supervisory and enforcement powers previously vested in separate

departments, is to “reform the regulation of financial services in New York to keep pace with the

rapid and dynamic evolution of these industries, to guard against financial crises and to protect

consumers and markets from fraud.”19

       25.    The Superintendent of DFS has broad regulatory and enforcement powers, which

encompass the ability to initiate civil and criminal investigations and enforcement actions. In

addition, pursuant to Financial Services Law, Article 3, § 301, the DFS superintendent has the



       18
          DFS FINES LOCKTON COMPANIES $7 MILLION FOR UNDERWRITING NRA-
BRANDED “CARRY GUARD” INSURANCE PROGRAM IN VIOLATION OF NEW YORK
INSURANCE LAW, N.Y. STATE DEP’T OF FIN. SERVS. (May 2, 2018),
https://www.dfs.ny.gov/about/press/pr1805021.htm; see also DFS FINES CHUBB
SUBSIDIARY ILLINOIS UNION INSURANCE COMPANY $1.3 MILION FOR
UNDERWRITING NRA-BRANDED “CARRY GUARD” INSURANCE PROGRAM IN
VIOLATION OF NEW YORK INSURANCE LAW, N.Y. STATE DEP’T OF FIN. SERVS. (May 7,
2018), https://www.dfs.ny.gov/about/press/pr1805071.htm.
       19
             N.Y.     STATE     DEP’T        OF     FIN.    SERVS.      (Dec.     12,     2017),
https://www.dfs.ny.gov/about/mission.htm.



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power to refer matters to the attorney general for criminal enforcement. The creation of an agency

with such expansive prerogatives and capabilities “grab[bed] power and headlines,” and the New

York Times reported in 2015 that the first DFS superintendent, Benjamin Lawsky, was popularly

caricatured as “the new sheriff of Wall Street” and an all-powerful monarch (“King Lawsky”).20

       26.       New York Financial Services Law, Article 2, § 201, provides the superintendent of

DFS with formidable authority to, among other things, “ensure the continued solvency, safety,

[and] soundness” of banks and insurance companies.21 Accordingly, DFS directives regarding

“risk management” must be taken seriously by financial institutions—as risk-management

deficiencies can result in fines of hundreds of millions of dollars.

       27.       DFS’s regulatory mandate does not include setting gun-control policy. Nor does

any statute or other authority empower DFS to blacklist, from receipt of insurance or banking

services, speakers with political viewpoints objectionable to the governor or DFS superintendent.

In addition, DFS has no authority to engage in unlawful viewpoint discrimination.

       2.        The NRA Depends Upon Essential Financial Services to Fulfill Its Advocacy
                 Mission

       28.       The NRA’s direct-mail campaigns, digital media broadcasts, television and radio

communications, grassroots organizing, membership recruitment, and other core political speech

and associational activities are carried out by a combination of volunteers, employees, and

independent contractors engaged by the NRA and its affiliates. To meet payroll obligations,

purchase mailing materials and media airtime, maintain its Internet presence, and otherwise


       20
          Jessica Silver-Greenberg and Ben Protess, Benjamin Lawsky, Sheriff of Wall Street, Is
Taking     Off     His    Badge,    THE    NEW      YORK     TIMES    (May      20,     2015),
https://www.nytimes.com/2015/05/21/business/dealbook/benjamin-lawsky-to-step-down-as-
new-yorks-top-financial-regulator.html.
       21
            New York Financial Services Law Article 2, § 201 (“Declaration of Policy”).


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continue to advocate for the Second Amendment of the United States Constitution, the NRA must

have the ability to process and retain cash, check, wire-transfer, and other donations from members

and events throughout the country, as well as transmit and apply these funds to meet operational

needs. Accordingly, the NRA relies upon depository services, cash management services, lockbox

services, disbursement services, wire-transfer services, and remote banking services of the type

generally offered by major wholesale banking institutions.

       29.     To continue its existence as a not-for-profit organization and fulfill its advocacy

objectives, the NRA also must maintain various corporate insurance coverage. General liability

and related “umbrella” coverage allow the NRA to maintain physical premises, convene off-site

meetings and events, and operate educational programs promoting the safe use of firearms which

are vital to the NRA’s mission. For its Annual Meeting, Great American Outdoor Show, and other

major rallies, conventions and assemblies with explicitly expressive purposes, the NRA generally

must also purchase event-specific coverage. Finally, for any organization that produces and

disseminates original media content—especially a controversial speaker like the NRA—media

liability coverage is a practical necessity. Absent such coverage, it is likely that NRATV would

be forced to cease operating; moreover, the NRA could be forced to cease circulation of various

print publications and magazines.

       30.     In addition, like many affinity groups and organizations nationwide, the NRA seeks

to make life, health, and other insurance coverage available to its members on affordable, tailored

terms. To this end, the NRA contracted with multiple insurance-industry firms to develop, market,

and underwrite insurance programs endorsed by the NRA. Pursuant to these arrangements, the

NRA performs none of the functions of an insurer. It does lend its valuable logos, marks, and




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endorsements to insurance programs brokered and serviced by others. Such “affinity” insurance

plans are common, and believed by many to be a suitable substitute for employer-based coverage.22

       31.     From 2000 onward, the NRA contracted with affiliates of the world’s largest

privately-held insurance broker, Lockton Companies, LLC (collectively with pertinent affiliates,

“Lockton”),23 for affinity-program brokerage and administration services. Lockton has provided

services in the affinity-insurance market for decades, and caters to a wide array of industries and

clients including franchises, professional and trade organizations, fraternal organizations, and

common-cause groups such as the NRA.              For roughly seventeen years, Lockton entities

administered and marketed NRA-endorsed insurance in New York State and across the nation

without incident. In addition to its affinity-insurance transactions with the NRA, Lockton has also

served for decades as the NRA’s trusted insurance broker for various corporate coverage—such

as general liability, media liability, and director and officer insurance.

       32.     The NRA-endorsed affinity insurance administered by Lockton consists primarily

of life, health, property, and casualty policies that resemble policies offered by Lockton to other

affinity groups. In addition, Lockton administers certain products, including a product known as

“Carry Guard,” that provide coverage for expenses arising out of the lawful self-defense use of a

legally possessed firearm. Illinois Union Insurance Company (“Illinois Union”), a subsidiary of

Chubb Ltd., underwrote Carry Guard while doing business under the name “Chubb.”




       22
           See, e.g., Rachel Louise Ensign, Affinity-Group Plans, THE WALL STREET JOURNAL
(Sept.                                        11,                                   2011),
http://online.wsj.com/article/SB10001424053111904836104576563341686006336.html.
       23
         In particular, the NRA contracted with Lockton Affinity Series of Lockton Affinity, LLC
(f/k/a Lockton Risk Services, Inc.) (“Lockton Affinity”) and Kansas City Series of Lockton
Companies, LLC (“Lockton KC”).


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       33.     The NRA has been the target of activist boycott efforts in the past, including

campaigns that urged insurance companies and other private actors to cease doing business with

the NRA. However, because these campaigns were carried out by non-governmental activist

groups who lack the ability to punish those who refused to join the boycott, their methods have

centered on persuasion—not coercion. Unaided by the brute force of state power, activists never

successfully persuaded the NRA’s banking or insurance partners to sever ties with the NRA. This

changed in 2017, when one activist organization successfully enlisted Defendants in a joint effort

to silence the NRA.

       3.      DFS Commences A Politically Motivated Investigation Focused Ostensibly on
               NRA-Endorsed “Affinity” Insurance.

       34.     During or about September 2017, a non-governmental activist organization known

as Everytown for Gun Safety (“Everytown”) contacted the New York County District Attorney’s

Office (the “DA’s Office”), as well as state and municipal authorities in other jurisdictions, in an

effort to prompt a crackdown by sympathetic government officials that would target alleged

compliance infirmities in Carry Guard. Notably, Everytown is not an organization dedicated to

insurance compliance; instead, its explicit political mission is to oppose the NRA.24 On September

13, 2017, representatives from the DA’s Office met with DFS to effectuate Everytown’s agenda.

       35.       As a result, in October 2017, DFS launched an investigation that focused

ostensibly on Carry Guard, and was directed in the first instance at Lockton. On its website,




       24
           Aaron Blake, Bloomberg launches new $50 Million gun control effort, THE
WASHINGTON POST (Apr. 16, 2014), https://www.washingtonpost.com/news/post-
politics/wp/2014/04/16/bloomberg-aims-to-spend-50-million-on-gun-
control/?noredirect=on&utm_term=.703fe67ee197 (explaining that Everytown “will attempt to
combat the vast influence of the National Rifle Association”).



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Everytown took credit for instigating the inquiry25—but even if it had not, the political

underpinnings and selective focus of the investigation were clear.         The investigation was

chronicled in the national media before the NRA received official notice of it, and it targeted none

of the available self-defense insurance products except Carry Guard, which was endorsed by the

NRA.

       36.     Of course, Carry Guard was not Defendants’ true focus, and the scope of the DFS

investigation rapidly expanded. At first, Defendants purported to target a discrete subset of so-

called “excess line” property and casualty policies relating to firearms—a category that

encompassed Carry Guard, but also included policies such as Gun Club Insurance and Hunt Club

Insurance. However, Defendants’ goal, from the outset, was to disrupt any and all business

arrangements between the NRA and any insurance administrator, broker, or underwriter—indeed,

any financial institution. Within weeks of commencing its investigation, DFS began to target

insurance programs that had nothing to do with firearms, and instead provided coverage similar or

identical to coverage endorsed by other New York affinity organizations such as the New York

State Bar Association, the New York City Bar, the National Association for the Self-Employed,

the New York Association of Professional Land Surveyors, and the New York State Psychological

Association.

       37.     DFS has not announced similar inquiries concerning any of these other membership

organizations, even though their affinity programs involve most, if not all, of the practices and

features referenced by DFS in its investigation of the NRA’s affinity programs.            Instead,


       25
           Everytown, Moms Demand Action Statements Responding to Report That New York
Department of Financial Services is Investigating NRA Carry Guard Insurance, EVERYTOWN FOR
GUN SAFETY (Oct. 25, 2017), https://everytown.org/press/everytown-moms-demand-action-
statements-responding-to-report-that-new-york-department-of-financial-services-is-
investigating-nra-carry-guard-insurance/.


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Defendants selectively targeted the NRA because of the NRA’s legislative and grassroots

advocacy activities. Defendants specifically intend to undermine the NRA’s ability to conduct its

affairs in New York—and to advance Cuomo’s anti-NRA political agenda.

          4.    Over The Course Of The Investigation, Cuomo And DFS Exhort Firms To
                Sever Ties With The NRA.

          38.   Throughout its purported investigation of Carry Guard in late 2017 and early 2018,

DFS communicated to banks and insurers with known or suspected ties to the NRA that they would

face regulatory action if they failed to terminate their relationships with the NRA. These

exhortations extended far beyond Carry Guard (the policy purportedly raising regulatory

concerns), indicating that any business relationship whatsoever with the NRA would invite adverse

action.

          39.   The impact of Defendants’ campaign on the NRA’s ability to access essential

financial services has been far greater than—and, clearly distinct from—the impact of any public

controversy relating to recent tragedies.

          40.   For example, during February 2018, the NRA issued a Request for Proposal

(“RFP”) to multiple banks, inviting them to submit bids to provide depository services, cash-

management services, and other basic wholesale banking services necessary to the NRA’s

advocacy. The NRA received enthusiastic responses from several banks.

          41.   Likewise, in early January 2018, the NRA began negotiating with a major DFS-

regulated insurance carrier (the “Corporate Carrier”) to renew its General Liability, Umbrella, and

Media Liability insurance coverage policies, which were set to expire during Spring 2018. Those

negotiations remained on-course until the final days of February 2018, when Defendants sharply

escalated their threats.




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        42.    On or about February 25, 2018, the Chairman of Lockton Companies, placed a

distraught telephone call to the NRA. Lockton had been a close business partner of the NRA for

nearly twenty years; its commitment to the parties’ business relationship had not wavered in

connection with the Parkland tragedy, nor the prior Sandy Hook tragedy, nor any previous wave

of public controversy relating to gun control. Nonetheless, although he expressed that Lockton

privately wished to continue doing business with the NRA, the chairman confided that Lockton

would need to “drop” the NRA—entirely—for fear of “losing [our] license” to do business in New

York.

        43.    On February 26, 2018, Lockton publicly tweeted that it would discontinue

providing brokerage services for all NRA-endorsed insurance programs.

        44.    Days later, the Corporate Carrier abruptly reversed its position in its corporate-

insurance-renewal negotiations with the NRA. Although it had previously indicated it would be

willing to extend the NRA’s General Liability, Umbrella, and Media Liability coverage on

favorable terms consistent with the NRA’s favorable claims history, the Corporate Carrier now

stated that it was unwilling to renew coverage at any price. The Corporate Carrier severed

mutually beneficial business arrangements with the NRA because it learned of Defendants’ threats

directed at Lockton, and feared it would be subject to similar reprisals.

        45.    Defendants soon supplemented their backchannel threats with official regulatory

“guidance.” In April 2018, Cuomo directed DFS to publicly “urge insurers and bankers statewide

to determine whether any relationship they may have with the NRA or similar organizations sends




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the wrong message to their clients and their communities who often look to them for guidance and

support.”26

       46.     On April 19, 2018, Vullo, as Superintendent of DFS, issued a pair of ominous

“guidance” letters (the “April 2018 Letters”) directed at the chief executive officers, or equivalents,

of all New York State chartered or licensed financial institutions and all insurers doing business in

New York. The April 2018 Letters urged recipients to sever ties with the NRA and other “gun

promotion organizations.”27 The directive was packaged in a sharply worded media advisory

meant to generate headlines – and apply maximum public pressure to the NRA and those with

whom it associates.

       47.     The April 2018 Letters are suffused with political concerns far afield from DFS’s

mandate to prevent financial crises and financial fraud. For example, they urge banks and insurers

to heed “the voices of the passionate, courageous, and articulate young people” speaking out in

favor of gun control, and to reconsider any business relationships with “the [NRA], and similar

organizations that promote guns and lead to senseless violence.” However, the April 2018 Letters



       26
          GOVERNOR CUOMO DIRECTS DEPARTMENT OF FINANCIAL SERVICES TO
URGE COMPANIES TO WEIGH REPUTATIONAL RISK OF BUSINESS TIES TO THE NRA
AND SIMILAR ORGANIZATIONS, N.Y. STATE GOVERNOR ANDREW M. CUOMO (Apr. 19, 2018),
https://www.governor.ny.gov/news/governor-cuomo-directs-department-financial-services-urge-
companies-weigh-reputational-risk, attached hereto as Exhibit A (the “Cuomo Press Release”).
       27
           Maria T. Vullo, Guidance on Risk Management Relating to the NRA and Similar Gun
Promotion Organizations, N.Y. STATE DEP’T OF FIN. SERVS. (Apr. 19, 2018),
https://www.dfs.ny.gov/legal/dfs/DFS_Guidance_Risk_Management_NRA_Gun_Manufacturers
-Insurance.pdf (addressed to the CEOs or equivalents of insurers doing business in the State of
New York), attached hereto as Exhibit B; Maria T. Vullo, Guidance on Risk Management Relating
to the NRA and Similar Gun Promotion Organizations, N.Y. STATE DEP’T OF FIN. SERVS. (Apr.
19,                                                                                     2018),
https://www.dfs.ny.gov/legal/dfs/DFS_Guidance_Risk_Management_NRA_Gun_Manufacturers
-Banking.pdf (addressed to the CEOs or equivalents of New York State chartered or licensed
financial institutions), attached hereto as Exhibit C.


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do not merely express Defendants’ own political opinions: they invoke the “risk management”

obligations of recipients, and direct banks and insurers to “take prompt actions to manage”

purported “reputational risks” arising from “dealings with the NRA or similar gun promotion

organizations.”

       48.      Read in the context of the preceding months’ private communications—as well as

disclosures that would soon follow concerning consequences imposed on firms doing business

with the NRA—the April 2018 Letters were threats that deliberately invoked DFS’s “risk

management” authority to warn of adverse action if institutions failed to support Defendants’

efforts to stifle the NRA’s speech and to retaliate against the NRA based on its viewpoint.

       49.      Importantly, the April 2018 Letters contain no language clarifying that DFS would

forebear from directly enforcing the letters’ terms. Nor do the April 2018 Letters provide regulated

institutions with any objective criteria for measuring the “reputational risks” imposed by dealings

with entities that “promote guns that lead to senseless violence.” This is because Defendants intend

the April 2018 Letters to intimidate institutions into acceding to a political blacklisting campaign,

and have nothing to do with the types of market “risks” properly regulated by DFS.

       50.      To further dispel any ambiguity surrounding the April 2018 Letters, Cuomo and

Vullo issued the contemporaneous Cuomo Press Release, containing and endorsing a statement by

Vullo that directly “urge[s] all insurance companies and banks doing business in New York to join

the companies that have already discontinued their arrangements with the NRA.”28




       28
            Ex. A.



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       51.      Likewise, on April 20, 2018, Cuomo publicly tweeted: “The NRA is an extremist

organization. I urge companies in New York State to revisit any ties they have to the NRA and

consider their reputations, and responsibility to the public.”29

       52.      The intended and actual effect of the April 2018 Letters, and the actions by Cuomo

and Vullo, is to coerce insurance agencies, insurers, and banks into terminating business

relationships with the NRA that were necessary to the survival of the NRA as a charitable

organization.

       53.      Third-party commentators immediately raised concerns about the First Amendment

implications of DFS’s actions. For example, on April 22, 2018, shortly after issuance of the April

2018 Letters, Brian Knight, a Senior Research Fellow and financial regulation expert at George

Mason University, published an article expressing alarm that the April 2018 Letters “appear[ed]

to be inherently about political speech,” and should be immediately withdrawn.30 In the face of

such criticism (and this litigation), Cuomo doubled down, declaring that a lawsuit which alleges

unconstitutional censorship of the NRA’s “dangerous agenda” means “you know you’re doing

something right.”31




       29
             Andrew Cuomo (@NYGovCuomo), TWITTER (Apr. 20, 2018, 8:58 AM),
https://twitter.com/NYGovCuomo/status/987359763825614848.
       30
        Brian Knight, Is New York using bank regulation to suppress speech?, FINREGRAG (Apr.
22,    2018),    https://finregrag.com/is-new-york-using-bank-regulation-to-suppress-speech-
ac61a7cb3bf.
       31
            Kenneth Lovett, NRA slapping Cuomo with lawsuit over blacklisting campaign,
violating First Amendment rights, NEW YORK DAILY NEWS (May 11, 2018),
http://www.nydailynews.com/news/politics/nra-slapping-cuomo-lawsuit-blacklisting-campaign-
article-1.3984861#; Andrew Cuomo (@NYGovCuomo), TWITTER (May 12, 2018, 8:50 AM),
https://twitter.com/NYGovCuomo/status/995330370592632832.



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D.     The Damage Done.

       1.        DFS Permanently Restricts Lockton From Doing Business With The NRA In
                 New York.

       54.       On May 2, 2018, two weeks after Vullo issued the April 2018 Letters, Lockton

entered into a consent order Under Articles 21, 23, and 34 of the Insurance Law (the “Lockton

Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary penalty of $7

million.32 Although the Lockton Consent Order ostensibly addresses discrete violations by

specific Lockton entities of New York’s Insurance Law, its provisions go much further. Most

notably, the Lockton Consent Order purports to restrict Lockton’s participation in any NRA-

endorsed insurance programs in New York State, irrespective of whether such programs comply

with the Insurance Law.

       55.       Specifically, the Lockton Consent Order requires that Lockton agree “not to

participate in . . . any other NRA-endorsed programs with regard to New York State.” Nor may

Lockton “enter into any agreement or program with the NRA to underwrite or participate in any

affinity-type insurance program involving any line of insurance to be issued or delivered in New

York State or to anyone known to Lockton to be a New York resident.” As a result, Lockton is

prohibited from selling NRA affinity insurance outside New York to any individual who maintains

a New York residence.

       56.       DFS and Vullo have no legal basis to restrict Lockton’s involvement with insurance

programs that do not violate New York’s Insurance Law; nor do they have authority to regulate

insurance transactions outside of New York. Nevertheless, DFS mandated that Lockton never




       32
            The Lockton Consent Order is attached hereto as Exhibit D.


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enter into any future agreements with the NRA for legitimate and fully compliant insurance

programs in New York.

        57.     Furthermore, Lockton would violate the Lockton Consent Order if it markets an

ordinary property, casualty, or life insurance policy in the State of New York that was accompanied

by an NRA logo or endorsement—notwithstanding that a comparable logo or endorsement

referencing any other affinity or common-cause organization is permissible. This provision of

the Lockton Consent Order is deliberate and intended to impair the NRA’s ability to negotiate

insurance benefits for its members, damage the NRA’s goodwill among its membership, and

unconstitutionally restrict the NRA’s speech on the basis of political animus.

        58.     Several of the purported “violations” assessed pursuant to the Lockton Consent

Order concern programs commonly engaged in by numerous additional affinity associations that

do not publicly advocate for Second Amendment rights and, therefore, are not targets of

Defendants’ unconstitutional conduct. Several such organizations are clients of Lockton—yet the

Consent Order does not compel Lockton to discontinue its purportedly unlawful conduct with

respect to these clients.

        59.     For example:

        •       DFS claims that Lockton Affinity violated Insurance Law § 2122(a)(1) by referring
                to the insurer’s AM Best rating. Yet, in reference to Lockton Affinity’s affinity
                program for the American Optometric Association through AOAExcel
                (“AOAExcel”), Lockton Affinity states that it has the “backing of a carrier that is
                rated A+ (Superior) by A.M. Best.33 Similarly, Lockton Affinity currently
                advertises that coverage for the affinity programs designed for the Veterans of




        33
             Questions? We have answers for you.,                      AOAINSURANCEALLIANCE,
http://aoainsurancealliance.com/faq/ (last visited May 7, 2018).



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                  Foreign Wars (“VFW”) and Moose International Inc. (“Moose”) is through
                  companies “rated ‘Excellent’ or higher by A.M. Best.”34

         •        DFS claims that Lockton Affinity violated Insurance Law § 2324(a) by giving or
                  offering to give no cost insurance to NRA members in good standing. Yet, Lockton
                  Affinity currently makes that same offer to members of both the Professional
                  Photographers of America (“PPA”)35 and the VFW.36

         •        DFS claims that Lockton Affinity violated Insurance Law § 2116 by compensating
                  the NRA based on actual premiums collected. Yet, Lockton Affinity paid
                  AOAExcel, Moose, the VFW, and the PPA in the same or similar manner.

         60.      Even if such conduct does violate insurance law, DFS’s selective enforcement of

such offenses as to NRA-endorsed policies—but not as to other policies marketed by Lockton in

an identical fashion—constitutes impermissible viewpoint discrimination and a denial of equal

protection under the law.

         61.      Despite the backlash concerning the expansive coercive scope and clear political

agenda of the April 2018 Letters, Defendants remained undaunted in their effort to deprive the

NRA of such services; as such, their overall messaging to financial institutions remained

unaffected. Indeed, the DFS press release publicizing the Lockton Consent Order trumpeted the

same concession by Lockton that had inspired its chairman’s furtive telephone call months before:




         34
            FVW Post Insurance Program, Program Information, VFW INSURANCE,
http://vfwinsurance.com/wp-
content/uploads/sites/29/2017/12/VFW_Post_Insurance_Information_Packet.pdf (last visited
May 7, 2018); MOOSE INSURANCE PROGRAM, http://mooseinsuranceprogram.com/ (last visited
May 7, 2018).
         35
              INSURANCE FOR PPA, https://insuranceforppa.com/ (last visited May 7, 2018).
         36
              VFW INSURANCE, http://vfwinsurance.com/life-insurance/#no-cost (last visited May 7,
2018).



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Lockton must “refrain from [e]ntering into any other agreement or arrangement . . . involving the

NRA, directly or indirectly”—including, but not limited to, affinity insurance.37

         2.        DFS Purports To Prohibit Chubb From Doing Business With The NRA
                   Anywhere.

         62.       On May 7, 2018, Chubb Group Holdings, Inc. and Illinois Union (together,

“Chubb”) entered into a Consent Order Under Sections 1101 and 3420 of the Insurance Law (the

“Chubb Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary penalty

of $1.3 million.38 Similar to the Lockton Consent Order, in the Chubb Consent Order, DFS

overextends its authority and purports to restrict Chubb’s participation in any affinity-type

insurance program with the NRA, irrespective of whether such programs comply with the

Insurance Law.

         63.       Although DFS restricts Lockton from participating in any affinity-type insurance

programs with the NRA in New York or with New York residents, Defendants’ restrictions in the

Chubb Consent Order contain no geographic constraint whatsoever. Instead, the Chubb Consent

Order purports to limit Chubb’s involvement with the NRA anywhere, and everywhere, in the

world.

         64.       Nevertheless, DFS allows Chubb to continue to underwrite affinity-type insurance

programs with other affinity or common-cause organizations that do not publicly advocate for

Americans’ Second Amendment rights, so long as Chubb undertakes “reasonable due diligence to



         37
          DFS FINES LOCKTON COMPANIES $7 MILLION FOR UNDERWRITING NRA-
BRANDED “CARRY GUARD” INSURANCE PROGRAM IN VIOLATION OF NEW YORK
INSURANCE LAW, N.Y. STATE DEP’T OF FIN. SERVS. (May 2, 2018),
https://www.dfs.ny.gov/about/press/pr1805021.htm.
         38
              The Chubb Consent Order is attached hereto as Exhibit E.



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ensure that any entity involved . . . is acting in compliance with the Insurance Law . . . .”39 The

only plausible explanation for the DFS’s complete exclusion of NRA-endorsed policies, even those

“in compliance with the Insurance Law,” is that Defendants seek to misuse DFS’s power to deprive

the NRA of insurance and financial services, on the sole ground that Defendants disapprove of the

NRA’s viewpoint regarding gun control.

       3.         Defendants’ Actions Are Causing Other Financial Institutions To Re-Evaluate
                  Their Relationships With The NRA For Fear Of Significant Adverse Action
                  By Defendants.

       65.        Defendants’ concerted efforts to stifle the NRA’s freedom of speech and to retaliate

against the NRA based on its viewpoints are causing other insurance, banking, and financial

institutions doing business with the NRA, such as Lloyd’s of London (“Lloyd’s”), to rethink their

mutually beneficial business relationships with the NRA for fear of monetary sanctions or

expensive public investigations.40 Indeed, Lloyd’s announced on May 9, 2018, that it would

“terminate all insurance offered, marketed, endorsed, or otherwise made available” through the

NRA in light of the DFS Investigation.41

       66.        The NRA has encountered serious difficulties obtaining corporate insurance

coverage to replace coverage withdrawn by the Corporate Carrier. The NRA’s inability to obtain

insurance in connection with media liability raises risks that are especially acute; if insurers remain

afraid to transact with the NRA, there is a substantial risk that NRATV will be forced to cease

operating. The NRA has spoken to numerous carriers in an effort to obtain replacement corporate


       39
            See Ex. E, at ¶ 22.
       40
         See, e.g., Lloyd’s Underwriters Told to Stop Insurance Linked to NRA, THE NEW YORK
TIMES (May 9, 2018), https://www.nytimes.com/reuters/2018/05/09/business/09reuters-lloyds-of-
london-nra.html, attached hereto as Exhibit F.
       41
            Id.


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insurance coverage; nearly every carrier has indicated that it fears transacting with the NRA

specifically in light of DFS’s actions against Lockton and Chubb.

        67.        Defendants’ threats have also imperiled the NRA’s access to basic banking

services, despite the absence of any alleged regulatory violations in connection with the NRA’s

banking activities. Multiple banks withdrew their bids in the NRA’s RFP process following the

issuance of the April 2018 Letters, based on concerns that any involvement with the NRA—even

providing the organization with basic depository services—would expose them to regulatory

reprisals.

        68.        Defendants’ campaign is achieving its intended chilling effect on banks throughout

DFS’s jurisdiction. Speaking “on the condition of anonymity,” one community banker from

Upstate New York told American Banker magazine that in light of the apparent “politically

motivated” nature of the DFS guidance, “[i]t’s hard to know what the rules are” or whom to do

business with, because bankers must attempt to anticipate “who is going to come into disfavor

with the New York State DFS” or other regulators.42 Other industry sources told American Banker

that, “such regulatory guidelines are frustratingly vague, and can effectively compel institutions to

cease catering to legal businesses.”43

        69.        The NRA has suffered tens of millions of dollars in damages based on Defendants’

conduct described above. Such damages include, without limitation, damages due to reputational

harm, increased development and marketing costs for any potential new NRA-endorsed insurance




        42
          Neil Haggerty, Gun issue is a lose-lose for banks (whatever their stance), AMERICAN
BANKER (Apr. 26, 2018, 1:11 PM), https://www.americanbanker.com/news/gun-issue-is-a-lose-
lose-for-banks-whatever-their-stance.
        43
             Id.


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programs, and lost royalty amounts owed to the NRA, as well as attorneys’ fees, legal expenses,

and other costs.

       70.     If the NRA is unable to collect donations from its members, safeguard the assets

endowed to it, apply its funds to cover media buys and other expenses integral to its political

speech, and obtain basic corporate insurance coverage, it will be unable to exist as a not-for-profit

or pursue its advocacy mission. Defendants seek to silence one of America’s oldest constitutional

rights advocates. If their abuses are not enjoined, they will soon, substantially, succeed.

                                                 V.

                                               CLAIMS

A.     Count One: Violation Of The NRA’s First And Fourteenth Amendment Rights Under
       42 U.S.C. § 1983, And Article 1, Section 8 Of The New York Constitution By The
       Establishment Of An Implicit Censorship Regime (As To All Defendants).

       71.     The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       72.     The First Amendment, which applies to Defendants by operation of the Fourteenth

Amendment, and Section Eight of the New York Constitution secure the NRA’s right to free

speech, including its right to express its viewpoints and political beliefs regarding the

constitutionally protected right to keep and bear arms.

       73.     The NRA has a longstanding history of political advocacy advancing the Second

Amendment rights of all Americans. Although Cuomo and Vullo disagree with and oppose the

NRA’s political views, the NRA’s freedom to express its views with respect to the gun-control

debate is a fundamental right protected by the First Amendment.

       74.     Defendants have regulatory authority over financial institutions and insurance

entities that have done or are doing business with or are otherwise associated with the NRA,

including Chubb, Lockton, and Lloyd’s.

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       75.       Defendants’ actions—including but not limited to the issuance of the April 2018

Letters and the accompanying backroom exhortations, the imposition of the Consent Orders upon

Chubb and Lockton, and the issuance of the Cuomo Press Release—established a “system of

informal censorship” designed to suppress the NRA’s speech.44

       76.       Defendants’ actions were for the purpose of suppressing the NRA’s pro-Second

Amendment viewpoint. Defendants undertook such unlawful conduct with the intent to obstruct,

chill, deter, and retaliate against the NRA’s core political speech.

       77.       Defendants’ unlawful exhortations to New York insurance companies, banks, and

financial institutions that they, among other things, “manag[e] their risks, including reputational

risks, that may arise from their dealings with the NRA . . ., as well as continued assessment of

compliance with their own codes of social responsibility[,]” as well as “review any relationships

they have with the NRA[,]” and “take prompt actions to managing these risks and promote public

health and safety[,]” constitute a concerted effort to deprive the NRA of its freedom of speech by

threatening with government prosecution services critical to the survival of the NRA and its ability

to disseminate its message. Far from protected government speech, Defendants’ actions constitute

an “implied threat[ ] to employ coercive state power” against entities doing business with the NRA,

and they are reasonably interpreted as such.45

       78.       Defendants’ concerted efforts to stifle the NRA’s freedom of speech caused

financial institutions doing business with the NRA to end their business relationships, or explore

such action, due to fear of monetary sanctions or expensive public investigations. For example,

Defendants coerced and caused Lockton and Chubb to cease their participation in NRA-endorsed


       44
            Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 71 (1963).
       45
            Okwedy v. Molinari, 333 F.3d 339, 342 (2d Cir. 2003).


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insurance programs, regardless of whether the insurance programs met all legal qualifications

under New York’s Insurance Law. Defendants’ implied threats also coerced and caused Lloyd’s

to cease doing insurance business with the NRA.

       79.     Defendants’ unlawful and intentional actions are not justified by a substantial or

compelling government interest and are not narrowly tailored to serve any such interest.

       80.     Defendants’ intentional actions resulted in significant damages to the NRA,

including but not limited to damages due to reputational harm, increased development and

marketing costs for any potential new NRA-endorsed insurance programs, and lost royalty

amounts owed to the NRA.

       81.     The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

       82.     In addition to the above-described damages, absent an injunction against

Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is unable to acquire

insurance or other banking services due to Defendants’ actions. Accordingly, the NRA seeks an

order preliminarily and permanently enjoining Cuomo and Vullo (in their official capacities) and

DFS—including its officers, agents, servants, employees, and all persons in active concert or

participation with them who receive actual notice of the injunction—from threatening or

encouraging insurance companies, banks, or financial institutions to sever ties with or discontinue

services to the NRA.

B.     Count Two: Violation Of The NRA’s First And Fourteenth Amendment Rights
       Under 42 U.S.C. § 1983 And Article 1, Section 8 Of The New York Constitution By
       Retaliating Against The NRA Based On Its Speech (As To All Defendants).

       83.     The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.



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       84.     The First Amendment, which applies to Defendants by operation of the Fourteenth

Amendment, and Section Eight of the New York Constitution, secures the NRA’s right to free

speech, including its right to express its viewpoints and political beliefs regarding the

constitutionally protected right to keep and bear arms.

       85.     The NRA has a longstanding history of political advocacy advancing the Second

Amendment rights of all Americans. Although Cuomo and Vullo disagree with and oppose the

NRA’s political views, the NRA’s freedom to express its views with respect to the gun-control

debate is a fundamental right protected by the First Amendment.

       86.     Defendants’ actions—including but not limited to the issuance of the April 2018

Letters and the accompanying backroom exhortations, the imposition of the Consent Orders upon

Chubb and Lockton, and the issuance of the Cuomo Press Release—were in response to and

substantially caused by the NRA’s political speech regarding the right to keep and bear arms.

Defendants’ actions were for the purpose of suppressing the NRA’s pro-Second Amendment

viewpoint. Defendants undertook such unlawful conduct with the intent to obstruct, chill, deter,

and retaliate against the NRA’s core political speech.

       87.     Defendants’ actions have concretely harmed the NRA by causing financial

institutions doing business with the NRA to end their business relationships, or explore such

action, due to fear of monetary sanctions or expensive public investigations. For example,

Defendants coerced and caused Lockton and Chubb to cease their participation in NRA-endorsed

insurance programs in New York and elsewhere, regardless of whether the insurance programs

met all legal qualifications under New York’s Insurance Law. Defendants’ implied threats also

coerced and caused Lloyd’s to cease participating in affinity insurance programs with the NRA.




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       88.     Defendants had discretion in deciding whether and how to carry out their actions,

including but not limited to the types of demands imposed on Chubb and Lockton in the Consent

Orders, whether to issue the Cuomo Press Release, and the type of guidance provided in the April

2018 Letters. They exercised this discretion to harm the NRA because of the NRA’s speech

regarding the Second Amendment.

       89.     Defendants’ unlawful and intentional actions are not justified by a substantial or

compelling government interest and are not narrowly tailored to serve any such interest.

       90.     Defendants’ intentional actions resulted in significant damages to the NRA,

including but not limited to damages due to reputational harm, increased development and

marketing costs for any potential new NRA-endorsed insurance programs, and lost royalty

amounts owed to the NRA.

       91.     The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

       92.     In addition to the above-described damages, absent an injunction against

Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is unable to acquire

insurance or other financial services due to Defendants’ actions. Accordingly, the NRA seeks an

order permanently enjoining Cuomo, Vullo, and DFS—including its officers, agents, servants,

employees, and all persons in active concert or participation with them who receive actual notice

of the injunction—from threatening or encouraging insurance companies, banks, or financial

institutions to sever ties with or discontinue services to the NRA.

C.     Count Three: Violation Of The NRA’s Right To Freedom Of Association Protected
       By The First And Fourteenth Amendment Under 42 U.S.C. § 1983, And Article 1,
       Section 8 Of The New York Constitution (As To All Defendants).

       93.     The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

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       94.     The First Amendment, which applies to Defendants by operation of the Fourteenth

Amendment, and Section Eight of the New York Constitution, protects every citizen’s right to

engage in expressive association for the advancement of beliefs and ideas.

       95.     The NRA and its members associate for the purpose of engaging in political

advocacy advancing the Second Amendment rights of all Americans. In order to meet the NRA’s

first “Purpose[] and Objective[]” contained in its bylaws—“[t]o protect and defend the

Constitution of the United States”—the NRA and its members engage in letter-writing campaigns,

peaceable public gatherings, and other grassroots “lobbying” activities.

       96.     Defendants’ actions—including but not limited to the issuance of the April 2018

Letters and the accompanying backroom exhortations, the imposition of the Consent Orders upon

Chubb and Lockton, and the issuance of the Cuomo Press Release—are, in effect, limiting the

NRA’s ability to continue to operate as an ongoing entity and engage in political advocacy.

Specifically, the NRA has encountered serious difficulties obtaining corporate insurance coverage,

media liability coverage, and basic banking services.

       97.     For example, financial institutions previously doing business with the NRA, such

as Lockton, Chubb, and Lloyd’s, are ending their business relationships, or exploring such action,

due to fear of monetary sanctions or expensive public investigations. The Corporate Carrier has

now stated that it was unwilling to renew coverage at any price. The NRA has spoken to

numerous carriers in an effort to obtain replacement corporate insurance coverage; nearly every

carrier has indicated that it fears transacting with the NRA specifically in light of DFS’s actions

against Lockton and Chubb. Furthermore, multiple banks withdrew their bids following the

issuance of the April 2018 Letters, based on concerns that any involvement with the NRA—even




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providing the organization with bank-depository services—would expose them to regulatory

reprisals.

        98.    Insurance coverage is necessary for the NRA to continue its existence as a not-for-

profit organization and fulfill its advocacy objectives. Without appropriate media coverage, for

example, there is a substantial risk that NRATV will be forced to cease operating; moreover, the

NRA could be forced to cease circulation of various print publications and magazines.

Additionally, the NRA cannot maintain its physical premises, convene off-site meetings and

events, operate educational programs promoting the safe use of firearms, or hold rallies,

conventions and assemblies without general liability and related “umbrella” coverage, or event-

specific coverage.

        99.    Banking services—such as the ability to process and retain cash, check, wire-

transfer, and other donations from members and events throughout the country, as well as transmit

and apply these funds to meet operational needs—are a necessary and critical function for the NRA

to continue as an organization.

        100.   Defendants’ actions were taken to specifically target the NRA’s and its members’

right to associate and express their political beliefs in order to banish pro-Second Amendment

views from New York. Believing they could not directly bar the NRA from operating in New

York, Defendants instead engaged in a censorship scheme to directly, substantially, and

significantly infringe the NRA’s and its members’ right to associate by depriving it of critical

insurance and banking services.

        101.   The NRA’s interest in associating to advance its political beliefs, along with the

beliefs of its members, significantly outweighs the government’s interest in any restriction of that

association.



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       102.    Defendants’ unlawful and intentional actions do not serve a compelling government

interest and can be achieved through means significantly less restrictive of associational freedoms.

       103.    Defendants’ intentional actions resulted in significant damages to the NRA,

including but not limited to damages due to reputational harm and increased costs associated with

finding replacement banking and insurance services, if available at all.

       104.    The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

       105.    The NRA does not have an adequate remedy at law for the harm and damage caused

by Defendants’ violations of its constitutional right of freedom of association.         Absent an

injunction against Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is

unable to acquire insurance or other financial services due to Defendants’ actions.

       106.    Accordingly, the NRA seeks an order permanently enjoining Cuomo, Vullo, and

DFS—including its officers, agents, servants, employees, and all persons in active concert or

participation with them who receive actual notice of the injunction—from threatening or

encouraging insurance companies, banks, or financial institutions to sever ties with, refuse to offer

services to, or discontinue services to the NRA.

D.     Count Four: Violation Of The Equal Protection Clause Of The Fourteenth
       Amendment Under 42 U.S.C. § 1983, And Article 1, Section 11 Of The New York
       Constitution (As To All Defendants).

       107.    The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       108.    Defendants knowingly and willfully violated the NRA’s equal protection rights by

seeking to selectively enforce certain provisions of the Insurance Law against Lockton’s affinity-

insurance programs for the NRA.        Meanwhile, other affinity-insurance programs that were



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identically (or at least similarly) marketed by Lockton, but not endorsed by “gun promotion”

organizations, have not been targeted by DFS’s investigation.

       109.      Defendants’ selective enforcement of the Insurance Law against the NRA and its

business partners has been knowing, willful, arbitrary, capricious, unreasonable, discriminatory,

and undertaken in bad faith and without a rational basis. Defendants’ conduct does not further any

legitimate government interest.

       110.      Defendants’ selective enforcement of the Insurance Law against the NRA and its

business partners is based on the NRA’s political views and speech relating to the Second

Amendment. These considerations are impermissible bases for an enforcement action.

       111.      Defendants’ actions have resulted in significant damages to the NRA, including but

not limited to damages due to reputational harm, increased development and marketing costs for

any potential new NRA-endorsed insurance programs, and lost royalty amounts owed to the NRA.

       112.      The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Laws and Rules § 8601.

       113.      In addition, Defendants’ unlawful conduct inflicted, and threatens to continue to

inflict immediate, irreparable harm on the NRA.            Accordingly, the NRA seeks an order

preliminarily and permanently enjoining Cuomo and Vullo (in their official capacities) and DFS—

including its officers, agents, servants, employees, and all persons in active concert or participation

with them who receive actual notice of the injunction—from selectively enforcing the Insurance

Law by requiring Lockton or Chubb, through their respective consent orders, to forbear from doing

business with the NRA which they could otherwise permissibly conduct with other affinity

organizations.




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E.     Count Five: Conspiracy Under 42 U.S.C. § 1983 (As To Cuomo And Vullo In Their
       Individual Capacities).

       114.    The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       115.    Cuomo and Vullo, acting under color of state law, agreed with each other, and with

others known and unknown, to deprive the NRA of rights secured and guaranteed by the First and

Fourteenth Amendments to the United States Constitution and Sections Eight and Eleven of the

New York Constitution.

       116.    In furtherance of these objectives, Cuomo directed Vullo to issue statements

targeted at New York insurance and financial institutions to cause them to sever existing

relationships with the NRA. Vullo agreed and subsequently released the April 2018 Letters,

implicitly threatening DFS-regulated entities with potential prosecutorial action should they fail to

sever ties with the NRA.

       117.    Less than two weeks after the April 2018 Letters, continuing to carry out her

agreement with Cuomo to stifle the NRA’s political speech, Vullo signed the Lockton Consent

Order, imposing a monetary sanction of $7 million against Lockton Affinity and Lockton

Companies, and requiring them to never again participate in any lawful NRA-endorsed insurance

program in New York. Shortly thereafter, Vullo signed the Chubb Consent Order imposing a

monetary sanction of $1.3 million against Chubb, and requiring them to never again participate in

any lawful NRA-endorsed insurance program no matter where in the world the insured is located.

       118.    Cuomo’s and Vullo’s conspiracy was chiefly motivated by discriminatory animus

against the NRA on account of its political speech, beliefs, and associations—in particular, its

advocacy on behalf of Second Amendment rights. Vullo, at Cuomo’s direction, agreed to issue

the April 2018 Letters in an apparent effort to silence, intimidate, and deter those possessing a


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particular viewpoint from participating in the debate with respect to gun control. This effectively

prevents, or at a minimum chills, the NRA’s enjoyment and exercise of its right to freedom of

speech. Cuomo’s and Vullo’s intentional actions spawned by the conspiracy were motivated by

an unlawful motive or intent and involved a reckless or callous indifference to, or disregard of, the

NRA’s protected constitutional rights.

       119.     Cuomo’s and Vullo’s unlawful actions, undertaken separately and jointly under

color of state law, resulted from a concerted and malicious conspiracy to abridge the NRA’s

freedom of speech under the First and Fourteenth Amendments to the United States Constitution

and Section Eight of the New York Constitution and the NRA’s right to equal protection under the

Fourteenth Amendment to the United States Constitution and Section Eleven of the New York

Constitution.

       120.     Cuomo’s and Vullo’s conspiracy to stifle the NRA’s speech and induce a boycott

of the NRA has caused, and continues to cause, significant damages to the NRA. For example,

the NRA is entitled to compensatory damages resulting from the loss of insurance program

revenues. The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988 and New York Civil Practice Law and Rules § 8601.

F.     Count Six: Violation Of The NRA’s Fourteenth Amendment Due Process Rights
       Under 42 U.S.C. § 1983, And Article 1, Section 6 Of The New York Constitution (As
       To All Defendants).

       121.     The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       122.     Defendants’ actions have deprived the NRA of its constitutionally protected

interests in engaging in core political advocacy and pursuing revenue opportunities free from

unreasonable government interference by coercing financial institutions to cease providing

essential services to the NRA and other “gun promotion” organizations.

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        123.    For decades, the NRA has contracted with, among others, insurance-industry firms

and professionals to create affinity-insurance programs providing life, health, property, casualty,

and other similar types of insurance to NRA members, as well as club and business affiliates. The

NRA has invested significant time, money, and effort into these insurance programs in order to

provide a valuable benefit to its members.

        124.    Additionally, in order to continue its public advocacy efforts in support of the right

to bear arms, the NRA has contracted with financial institutions, including banks and insurers, to

provide the NRA with: (a) depository services, cash management services, lockbox services,

disbursement services, wire-transfer services, and remote banking services of the type generally

offered by major wholesale banking institutions; and (b) corporate insurance coverage, including

general liability and related “umbrella” coverage, and event-specific coverage.

        125.    Accordingly, the NRA has a property interest in its agreements with these financial

institutions, as well as a liberty interest in its good name, reputation, honor, integrity, and its ability

to endorse insurance products to its membership.

        126.    Defendants’ April 2018 Letters, backroom exhortations during the DFS

Investigation, and public statements caused, at a minimum, Lockton Affinity, Lockton Companies,

and Chubb to discontinue their NRA-endorsed insurance options in New York or (in Chubb’s case)

nationwide and to never again participate in such programs, thus depriving the NRA of its property

interest without due process of law. Furthermore, Defendants’ actions have interfered with and

deprived the NRA of its tangible property interests in accessing banking and insurance products

on equal terms with other citizens.

        127.    Defendants, in their April 2018 Letters and in other public pronouncements, have

made stigmatizing statements, including that the NRA represents a potential reputation risk to



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insurance companies and financial institutions, that the NRA is responsible for “senseless

violence,” and that the NRA is a threat to the public health and safety, that call into question the

NRA’s good name, reputation, honor, and integrity. These stigmatizing statements are false and

capable of being proved false.

       128.    As evidenced by the actions multiple insurance companies have taken to terminate

their business relationships with the NRA, Defendants’ public statements and other unlawful

conduct have impugned the NRA’s reputation in such a fashion as to materially obstruct and hinder

the NRA’s ability to continue its existence as a not-for-profit organization, fulfill its advocacy

objectives, and carry its affinity insurance programs. Defendants’ conduct indeed shocks the

conscience.

       129.    Defendants made these stigmatizing statements publicly, both through the release

of the April 2018 Letters and in other public pronouncements.

       130.    Defendants made these statements concurrently with, or in close temporal

relationship to, the decision by each of Lockton and Chubb to terminate one or more key business

relationships with the NRA; those terminations directly resulted from the coercion applied by

Defendants to Lockton and Chubb.

       131.    Defendants’ violation of the NRA’s due process rights and deprivation of the

NRA’s interest in its contracted-for NRA-endorsed insurance programs, as well as its other

property and liberty interests, has resulted in significant damages to the NRA, including increased

development and marketing costs for any potential new NRA-endorsed insurance programs and

increased costs associated with attempting to obtain new insurance and banking services. The

NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and

New York Civil Practice Law and Rules § 8601.



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        132.     The NRA also seeks an order preliminarily and permanently enjoining Cuomo and

Vullo (in their official capacities) and DFS—including its officers, agents, servants, employees,

and all persons in active concert or participation with them who receive actual notice of the

injunction—from engaging in any conduct or activity which has the effect of interfering with,

terminating, or diminishing any of the NRA’s contracts and/or lawful business relationships with

any organizations.

G.      Count Seven: Tortious Interference With Prospective Economic Advantage (As To
        Cuomo And Vullo In Their Individual Capacities).

        133.     The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

        134.     For over fifteen years, the NRA has had an ongoing business relationship with

Lockton. Lockton entities administered and marketed NRA-endorsed insurance in New York State

and across the nation, and also served as the NRA’s trusted insurance broker for various corporate

coverage—such as general liability, media liability, and director and officer insurance.

        135.     As demonstrated through, for example, the Lockton Consent Order, Cuomo and

Vullo knew that the NRA had an ongoing business relationship with Lockton and understood that

the relationship was expected to continue for many years to come.46 Prior to entering into the

Lockton Consent Order or issuing the April 2018 Letters and associated press release, Cuomo and

Vullo had access to the contracts between Lockton and the NRA, which indicated the long-term

nature of the relationship and explained the duties and obligations of Lockton and the NRA.

        136.     Vullo, at the direction of Cuomo, intentionally and deliberately interfered with the

NRA’s prospective business relationship with Lockton in an attempt to drive the NRA out of New


        46
             See Ex. D, at ¶ 15 (acknowledging the long-term relationship between Lockton and the
NRA).


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York. Vullo and Cuomo’s interference included, but is not limited to, entering into an agreement

with Lockton requiring it to not participate in “any other NRA-endorsed programs with regard to

New York State” and to not “enter into any agreement or program with the NRA to underwrite or

participate in any affinity-type insurance program involving any line of insurance to be issued or

delivered in New York State or to anyone known to Lockton to be a New York resident.”47

        137.      Cuomo and Vullo acted for a wrongful purpose, with malicious intent, and used

dishonest, wrongful, and improper means when intentionally interfering with the NRA’s business

relationship with Lockton. Cuomo’s and Vullo’s sole purpose for requiring Lockton to no longer

participate in lawful insurance programs with the NRA was to harm the NRA and drive it, and the

advocacy Cuomo and Vullo disagreed with, out of New York state.              Under the guise of

governmental executive authority, Cuomo and Vullo took intentional steps to violate the NRA’s

rights afforded by the United States and New York Constitutions and committed independent

tortious conduct.

        138.      Cuomo’s and Vullo’s intentional interference was directed at Lockton and

convinced and induced Lockton to not enter any future business relationship or continue a

prospective relationship with the NRA in New York.

        139.      Cuomo’s and Vullo’s intentional interference caused significant injury to the

NRA’s business relationship with Lockton, including Lockton’s termination of its relationship

with the NRA in New York (and elsewhere) and refusal to enter into any affinity-based insurance

programs with the NRA in New York, even if those programs comply with New York Insurance

Law.




        47
             Id. at ¶¶ 42-43.


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       140.    As a result of Vullo’s and Cuomo’s actions, the NRA has sustained and is

continuing to sustain economic damages from lost prospective business relations, including but

not limited to actual damages resulting from the loss of royalty payments from future affinity

programs and attorneys’ fees and costs, which must be remedied through issuance of a permanent

injunction and in an amount of actual damages.

       141.    The NRA is also entitled to an award of punitive damages for Cuomo’s and Vullo’s

tortious interference with the NRA’s prospective economic advantage because their intentional

actions constituted a wanton and reckless disregard of the NRA’s constitutional rights.

                                                 VI.

                                 DEMAND FOR JURY TRIAL

       142.    The NRA hereby demands a trial by jury on all issues so triable.

                                                VII.

                                    REQUEST FOR RELIEF

       WHEREFORE the NRA respectfully requests that the Court enter judgment in the NRA’s

favor and against Defendants, as follows:

       a.      Declaring, pursuant to 28 U.S.C. § 2201, that Defendants have violated the NRA’s

rights to free speech, freedom of association, due process, and equal protection under both the

Federal and New York Constitutions;

       b.      Granting a preliminary and permanent injunction, pursuant to 28 U.S.C. § 1651 (a),

42 U.S.C. § 1983, and Rule 65 of the Federal Rules of Civil Procedure, ordering DFS, its agents,

representatives, employees and servants and all persons and entities in concert or participation with

it, Cuomo (in his official capacity), and Vullo (in her official capacity):

               (1)     to immediately cease and refrain from engaging in any conduct or activity

                       which has the purpose or effect of interfering with the NRA’s exercise of

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                       the rights afforded to it under the First and Second Amendment to the

                       United States Constitution and Section 8 to the New York Constitution;

                (2)    to immediately cease and refrain from engaging in any conduct or activity

                       which has the purpose or effect of interfering with, terminating, or

                       diminishing any of the NRA’s contracts and/or business relationships with

                       any organizations;

                (3)    to immediately cease and refrain from further selective enforcement of the

                       Insurance Laws to the NRA endorsed policies; and

                (4)    to enjoin or preclude the enforcement of the provisions of the Lockton and

                       Chubb Consent Orders purporting to prohibit Lockton and Chubb from

                       doing business with the NRA;

          b.    Granting such other injunctive relief to which the NRA is entitled;

          c.    Awarding the NRA actual damages, including compensatory and consequential

damages, in an amount to be determined at trial;

          d.    Awarding the NRA exemplary or punitive damages;

          e.    Awarding the NRA pre-judgment and post-judgment interest at the highest lawful

rates;

          f.    Awarding the NRA such costs and disbursements as are incurred in prosecuting

this action, including reasonable attorneys’ and experts’ fees; and

          g.    Granting the NRA such other and further relief as this Court deems just and proper.

                                      Respectfully submitted,

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